ATTACHMENT   F
       Case 1:20-cv-03244-RDM                               Document 1-1 Filed 11/10/20 Page 1 of 1
                                                                                                                    CLEAR FORM

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                  for the
                                                          District
                                                    __________     of Columbia
                                                               District of __________

                                                                    )
                                                                    )
    KENNETH SPRINGS, NATHANIEL REESE, on                            )
  behalf of themselves and all others similarly situated,           )
                             Plaintiff(s)                           )
                                                                    )
                                 v.                                         Civil Action No. 2020-cv-3244
                                                                    )
                                                                    )
                                                                    )
 KENNETH J. BRAITHWAITE, Secretary of the Navy,
                                                                    )
       UNITED STATES OF AMERICA,
                                                                    )
                            Defendant(s)                            )

                                                    SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) Kenneth J. Braithwaite
                                            c/o Robert J. Sander
                                            General Counsel of the Navy
                                            Naval Litigation Office
                                            720 Kennon St., SE, Room 233
                                            Washington Navy Yard, DC 20374-5013

           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Christina Guerola Sarchio
                                            Dechert LLP
                                            1900 K Street, NW
                                            Washington, DC 20006-1110



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


 Date:
                                                                                        Signature of Clerk or Deputy Clerk
